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                      EXHIBIT J
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                                                                   Page 1

1
2
3        UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF CALIFORNIA
4        SAN FRANCISCO DIVISION
         Case No. 3:21-md-02981-JD
5        -----------------------------------x
         IN RE GOOGLE PLAY STORE
6        ANTITRUST LITIGATION
7        THIS DOCUMENT RELATES TO:
         Epic Games Inc. v. Google LLC, et al.,
8        Case No: 3:20-cv-05671-JD
9        In re Google Play Consumer
         Antitrust Litigation,
10       Case No: 3:20-cv-05761-JD
11       In re Google Play Developer
         Litigation,
12       Case No: 3:20-cv-05792-JD
13       State of Utah, et al.,
         v. Google LLC, et al.,
14       Case No: 3:21-cv-05227-JD
15       Match Group, LLC, et al.,
         v. Google LLC, et al.,
16       Case No. 3:22-cv-02746-JD
         -----------------------------------x
17                    September 22, 2022
                      9:07 a.m.
18
19         ** H I G H L Y   C O N F I D E N T I A L **
20            Videotaped Deposition of ARMIN ZERZA,
21       taken by Plaintiffs, pursuant to Notice,
22       held via Zoom videoconference, before Todd
23       DeSimone, a Registered Professional
24       Reporter and Notary Public.
25

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        The payment system is an integral part of
3        the store, like you go to a physical store,
4        you need a place to pay, whether that is
5        through a cashier or through a
6        self-checkout, in the same ecosystem, in a
7        digital ecosystem, the payment system is
8        part of the store.
9                   Q.      And had you had your own mobile
10       app store, you then could have explored
11       having your own payment system, correct?
12                  A.      I'm not following the logic.
13       We would not launch a store with our own
14       payment system.            It doesn't make any sense.
15                  Q.      You would not launch a store
16       without your own payment system, is that
17       what you said?
18                  A.      Without a payment system in
19       general, yeah.           It doesn't make any sense.
20       What store has no payment system?                       You see,
21       that's why I'm not following your logic.
22       If we launched a store we would also
23       include a payment system, whether that is
24       our own or a third-party system.
25                  Q.      Currently you have -- you don't

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        have your own payment system, correct, on
3        mobile, on Android?
4                   A.      So we do have -- we do have our
5        own distribution system on PC, as you know,
6        with Battle.net.             We do not have our own
7        distribution or payment system on mobile.
8                   Q.      And what do you use on Android?
9                   A.      Today we use Google Play as our
10       store in many, many different countries.
11       We use a store called ONE Store in Korea.
12       In China, there is a variety of stores that
13       we are using.           So I don't recall all the
14       names.
15                  Q.      And when you use Google Play,
16       you use Google's payment system, right?
17                  A.      When we use Google Play, yeah,
18       of course.
19                  Q.      Okay.       So you had this e-mail
20       exchange with Mr. Sweeney from May 9th,
21       2019 to June 27th, 2019, correct?
22                  A.      One second.             I'm just checking
23       the dates here.            Yeah, that's correct.
24                  Q.      And you made an effort to be
25       accurate and honest in your communications

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        its own mobile game store have accelerated
3        revenue and operating income for the
4        company?
5                   A.      In fact, we didn't pursue it,
6        because we didn't -- it did not lead to,
7        you know, any conclusion that we would be
8        able to do that.
9                   Q.      I understand.               How would
10       Activision having its own mobile game store
11       have accelerated revenue and operating
12       income from the company should it have been
13       pursued?
14                          MR. KWUN:           Objection, form.
15                  A.      I just gave you the answer.                    We
16       didn't pursue it.
17                  Q.      I understand you did not pursue
18       it.        My question is how would it have done
19       that had it been pursued?
20                          MR. AMATO:            Objection.
21                          MR. KWUN:           Objection, form.
22                  A.      I cannot give you a different
23       answer than I just gave you.
24                  Q.      Okay.       When you said earlier
25       that your understanding of more favorable

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        economics was that one of the reasons for
3        considering a mobile game store is that it
4        would help the company earn more revenue
5        and operating income, how did you envision
6        it would have done that?
7                   A.       We look at many different
8        projects across, you know, over time with
9        the intent to, you know, drive shareholder
10       value.          One of these projects, there were
11       many others, was this one, and ultimately
12       we decided not to pursue it because it
13       didn't -- it did not deliver the return
14       that we would expect on this type of
15       project.          So that's what I can say.                I
16       can't tell you how it would have done it,
17       because it didn't do it.
18                  Q.       When you were considering doing
19       it, how did you -- what was your hypothesis
20       as to how it would lead to more favorable
21       economic terms?
22                  A.       I don't recall.
23                  Q.       Was one way the economic terms
24       would have been more favorable is you would
25       have avoided paying the fee to Google for

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        the revenue share from the Google Play
3        Store?
4                   A.      First of all, I don't recall
5        that specifically.               What I do recall is
6        that we looked at distribution, you know,
7        across mobile ecosystems, including
8        creating our own one, and the irony of the
9        whole ecosystem is that, you know,
10       depending on the size and scale of the
11       respective outcome, you know, obviously the
12       fixed costs invested in the ecosystem can
13       drive higher costs or lower costs.
14                          So, you know, obviously our
15       expectation, you know, would have been at
16       the beginning of the project that we would
17       get better economics, but it didn't turn
18       out to be.
19                  Q.      And is one of the ways that you
20       would have gotten better economics at least
21       hopefully at the beginning of the project
22       was, you know, reducing or eliminating the
23       rev share that you paid to Google for
24       in-app purchases?
25                          THE WITNESS:              Was that an

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        objection?         I didn't hear that.
3                           MR. KWUN:           Sorry, I was just
4        clearing my throat.
5                           THE WITNESS:              Okay, I thought
6        somebody said something.
7                   A.      So I can't give you that answer
8        because it depends on what our operating
9        costs for the ecosystem is, and our
10       operating costs for the ecosystem could be
11       higher or lower, right?
12                          So, you know, the hypothesis,
13       when you start a project like this, is that
14       there may be an opportunity to accelerate
15       revenue and operating income for the
16       company in a meaningful way, which didn't
17       turn out to be the case in this case.
18                  Q.      Do you see on this document it
19       says "Currently, we see two potential paths
20       to improve mobile distribution economics
21       and both are being pursued in parallel"?
22                  A.      I do see that, yes.
23                  Q.      And that was true for Project
24       Boston as of December 12th, 2019?
25                  A.      We were working on -- so as I

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        mentioned before, we were in discussions
3        with Google at that time and beyond that
4        time, and we were looking at Project Boston
5        at that time and beyond that time.                        We
6        continue to look at Project Boston today.
7                   Q.      And the first path being
8        pursued were enterprise negotiations with
9        Google first.           Do you see that?
10                  A.      I do see that, yeah.
11                  Q.      And that's what you just
12       referred to in your discussions with
13       Google?
14                  A.      What I did say is that, you
15       know, we evaluated and we continue to
16       evaluate many different options to
17       accelerate revenue and income growth.                           At
18       the time we were talking to Google about an
19       enterprise-wide deal, which we obviously
20       signed with Google in early 2020.                       At the
21       time we were also looking at our own mobile
22       distribution ecosystem, among many other
23       projects.
24                  Q.      And according to this document,
25       the enterprise negotiations with Google

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        were one path to securing more favorable
3        mobile game economics, correct?
4                   A.      Let me see.             I'm looking at
5        this here.         That's what the document says.
6        I don't know what the author implies here.
7        So, again, I haven't authored this document
8        so I can't speak to what the author
9        implies.
10                  Q.      But that is also consistent
11       with your general understanding that one of
12       the things you were doing in December 2019
13       was attempting to secure better mobile
14       economics for Activision through enterprise
15       negotiations with Google, correct?
16                  A.      That's not what I said.                  What I
17       said is that we were working on an
18       enterprise deal with Google which -- the
19       objective of which was to create more value
20       for both parties in a material way,
21       otherwise, you know, we are all
22       multi-billion-dollar companies, we wouldn't
23       work on any of those projects.
24                          The enterprise deal was, again,
25       you know, across all the areas that we

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        discussed before, you know, and ultimately
3        that was important for us.                         But, you know,
4        we had significant value creation on both
5        sides and that's why we did the deal.
6                   Q.      And part of the value creation
7        that Activision was pursuing in its
8        enterprise negotiations with Google were
9        more favorable mobile economics, correct?
10                  A.      I'm thinking about this,
11       because the primary intent of the deal was
12       to ensure that we create significant value
13       for both sides.            That's a win-win
14       partnership.           In fact, the deal that we
15       signed, you know, there is no change in
16       royalties.         It has many components that
17       create value.
18                          So I don't know how to answer
19       your question, because the primary
20       objective for us is over value creation,
21       you know, and each individual component,
22       you know, has changed over time as the
23       discussion -- as the discussions evolved.
24                  Q.      I think my question is pretty
25       simple.         It is as follows:                  Part of the

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1                    ZERZA - HIGHLY CONFIDENTIAL
2        value creation that Activision was pursuing
3        in connection with its enterprise
4        negotiations with Google was improved
5        mobile economics, correct?
6                   A.      I do not recall that specific
7        objective.         Our specific objective was to
8        create value for both companies overall in
9        a way that accelerates value creation for
10       both companies.            That's the value
11       objective.         That's the way the deal was
12       constructed.
13                  Q.      And you see, referring back to
14       the document, that the second path to
15       achieve improved mobile distribution
16       economics was the development of a direct
17       to consumer mobile distribution platform
18       that bypasses existing storefronts?                         Do you
19       see that?
20                  A.      I do see that, yes.
21                  Q.      And then there are two options
22       underneath that, an ABK storefront only and
23       an ABK storefront with other external
24       publishers and developers.                         Do you see
25       that?

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